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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

BIOGEN INTERNATIONAL GMBH                       )
and BIOGEN MA INC.,                             )
                                                )
                      Plaintiffs,               )
                                                )
       v.                                       )    C.A. No. 17-823-MN
                                                )    (Consolidated)
GLENMARK PHARMACEUTICALS                        )
LIMITED and GLENMARK                            )    C.A. No. 17-852-MN
PHARMACEUTICALS INC., USA,                      )
                                                )
                      Defendants.               )
                                                )

                       STIPULATION AND ORDER OF DISMISSAL
                         (Dismissal of Biogen et al. v. Glenmark et el.)

       Pursuant to Rule 41(a)(1)(ii) and (c), Fed. R. Civ. P., Biogen International GmbH and

Biogen MA Inc. (“Plaintiffs”) and Glenmark Pharmaceuticals Limited and Glenmark

Pharmaceuticals Inc., USA (“Glenmark”) having settled their disputes in Civil Action No. 17-cv-

852 MN (“the Glenmark Action”) by a settlement agreement (the “Settlement Agreement”),

stipulate and agree, through their respective counsel and subject to the Court’s approval, that all

claims, counterclaims and defenses in the Glenmark Action are dismissed as follows:


       1. As used in this Stipulation and Order of Dismissal, the term “Glenmark ANDA

            Product” shall mean a drug product manufactured, imported, sold, offered for

            sale, marketed, or distributed pursuant to Abbreviated New Drug Application

            No. 210309.

       2. As used in this Stipulation and Order of Dismissal, the term “Patents-in-Suit”

            shall mean U.S. Patent Nos. 6,509,376, 7,320,999, and 8,399,514.



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     3. As used in this Stipulation and Order of Dismissal, the term “Affiliate” shall

        mean any entity or person that, directly or indirectly through one or more

        intermediaries, controls, is controlled by, or is under common control with

        Glenmark; for purposes of this definition, “control” (including the terms

        “controlled by” and “under common control with”) of a business entity means

        (a) the direct or indirect ownership of at least fifty percent (50%) of the voting

        stock or other voting interest in such entity; (b) the right to appoint at least fifty

        percent (50%) of the directors or management of such entity; or (c) the power

        to otherwise control or direct the decisions of the board of directors or similar

        body governing the affairs of such entity, provided that such other Person shall

        be deemed an Affiliate of such first Person only during the time that such

        control exists.

     4. Glenmark stipulates that, until expiration of the Patents-in-Suit, Glenmark,

        including any of its Affiliates, successors, and assigns, is enjoined from

        infringing the Patents-in-Suit, on its own part or through any Affiliate or any

        third party on its behalf, by making, having made, using, selling, offering to

        sell, importing, or distributing the Glenmark ANDA Product and is further

        enjoined from assisting or cooperating with any third parties in connection with

        any infringement of the Patents-in-Suit by any such third parties, unless and to

        the extent otherwise specifically authorized by Plaintiffs in writing.

     5. Glenmark stipulates that compliance with this Stipulation and Order of

        Dismissal may be enforced by Plaintiffs and its respective successors in interest

        or assigns.



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       The Plaintiffs and Glenmark waive any right to appeal or otherwise move for relief from

this Stipulation and Order of Dismissal.


       The Plaintiffs and Glenmark stipulate that this Court has jurisdiction over them for the

purposes of enforcing this Stipulation and Order of Dismissal and the terms of the Settlement

Agreement.


       IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

       1. All claims and defenses of Plaintiffs in the Glenmark Action are dismissed without

           prejudice.

       2. All counterclaims and defenses of Glenmark in the Glenmark Action are dismissed

           with prejudice.

       3. The Plaintiffs and Glenmark have waived any right to appeal or otherwise move for

           relief from this Stipulation and Order of Dismissal.

       4. This Court has jurisdiction over the Plaintiffs and Glenmark for the purposes of

           enforcing this Stipulation and Order of Dismissal and the terms of the Settlement

           Agreement.

       5. Each party will bear its own attorneys’ fees and costs.




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Dated: November 22, 2019
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SO ORDERED this ________
                 QG  day of1RYHPEHU
                                 _____________________, 2019.



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                                       United dS States
                                                    ttaates District Judge

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